The respondent Industrial Commission of Ohio has filed a motion, in this mandamus action, seeking a summary judgment on the ground that the relator has not exhausted his administrative remedies. The weakness of the respondent's argument is that the case has been pending before the Industrial Commission for over a year without a determination being made. Mandamus is the proper remedy to compel the exercise of discretion, i. e., make a ruling. See Cleveland, ex rel. Neelon, v. Locher (1971),25 Ohio St.2d 49.
The relator has no adequate remedy at law in the instant matter; therefore, a writ of mandamus is the appropriate method to seek the exercise of the agency's discretion.
The motion for summary judgment is hereby denied.
Motion denied.
STRAUSBAUGH, P. J., and WHITESIDE, J., concur. *Page 97 